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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA


v.                              4:11-CR-00078-02-BRW


THURSA HARGROVE

                                        ORDER

      Pending is the Government’s Motion to Dismiss the Indictment against Defendant Thursa

Hargrove (Doc. No. 32). The Motion is GRANTED.

      IT IS SO ORDERED this 26th day of January, 2012.




                                             /s/Billy Roy Wilson
                                     UNITED STATES DISTRICT JUDGE
